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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :
                                            :
       v.                                   :       Criminal No. 21-cr-134
                                            :
MARK SAHADY                                 :
                                            :
                                            :
                      Defendant.            :



       MOTION FOR AN ORDER TO DISCLOSE ITEMS PROTECTED BY
   FEDERAL RULE OF CRIMINAL PROCEDURE 6(e) AND SEALED MATERIALS

       The United States of America respectfully moves for entry by this Court of an order

permitting the disclosure in discovery of materials protected by Federal Rule of Criminal

Procedure 6(e). The United States also requests permission to provide in discovery sealed

materials, pursuant to the previously entered protective order governing discovery. Finally, the

United States requests that any order granting this motion be made applicable to co-defendants

who may later be joined.

       The United States conferred with counsel for the defendant regarding this motion and they

do not oppose this motion.




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       WHEREFORE, the United States respectfully requests an order authorizing the disclosure

in discovery of the materials described above.



                                             Respectfully submitted,

                                             CHANNING D. PHILLIPS
                                             Acting United States Attorney
                                             D.C. Bar No. 415793


                                     By:       /s/ Brittany Keil
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